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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE MIDDLE DISTRICT OF ALABAMA
                                     NORTHERN DIVISION

HEATH WHITT, #222 052,                            )
                                                  )
              Plaintiff,                          )
                                                  )
     v.                                           )       CIVIL ACTION NO. 2:18-CV-851-MHT
                                                  )
WARDEN MILLS, et al.,                             )
                                                  )
              Defendants.                         )


                                              ORDER

          On October 26, 2018, the court entered an order, a copy of which was mailed to Plaintiff.

On November 5, 2018, the postal service returned this document marked as undeliverable. The

order of procedure entered in this case instructed Plaintiff to immediately inform the court of any

new address. Doc. 6 at 2–3, ¶6 (“Plaintiff shall immediately inform the court and Defendants or

Defendants’ counsel of record of any change in his address. . . . Failure to provide a correct address

to this court within ten (10) days following any change of address will result in the dismissal of

this action.). It is clear from the foregoing that Plaintiff has failed to comply with this requirement

and, as such, this case cannot properly proceed in this court if the whereabouts of Plaintiff remain

unknown. Accordingly, it is

          ORDERED that on or before November 19, 2018, Plaintiff shall file with the court a

current address and/or show cause why this case should not be dismissed for his failure to

adequately prosecute this action. Plaintiff is specifically cautioned that if he fails to respond to

this order the Magistrate Judge will recommend this case be dismissed due to his failure to keep

the court apprised of his current address and because, absent such, this case cannot proceed before

this court.
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       It is further ORDERED that the directive requiring Defendants to file an answer and special

report to the complaint be held in ABEYANCE pending Plaintiff’s compliance with this order.

       Done, this 5th day of November 2018.


                                      /s/ Charles S. Coody
                                     UNITED STATES MAGISTRATE JUDGE
